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 1 STEVEN B. PLESSER, CAL. BAR #161615
   REICHEL, PLESSER , L.L.P.
 2 455 Capitol Mall, Suite 802
   Sacramento, CA 95814
 3 (916) 498-9258

 4 Attorneys for Defendant

 5

 6

 7                                IN THE UNITED STATES DISTRICT COURT
 8                                   EASTERN DISTRICT OF CALIFORNIA
 9

10

11   UNITED STATES OF AMERICA,                         CASE NO. 2:17-CR-00060-MCE
12                                 Plaintiff,          STIPULATION AND ORDER CONTINUING
                                                       JUDGMENT AND SENTENCING AND
13                          v.                         MODIFYING SCHEDULE FOR DISCLOSURE OF
                                                       PRE-SENTENCE REPORT
14   SERGIO DORIANTE SANCHEZ REYNA,
                                                       DATE: August 2, 2018
15                                Defendant.           TIME: 10:00 a.m.
                                                       COURT: Hon. Morrison C. England, Jr.
16

17                                              STIPULATION
18          Defendant, by and through his counsel of record, hereby requests a continuance of his Judgment
19 and Sentencing hearing, currently set for August 2, 2018, to September 6, 2018. The United States and

20 the Probation Office have no objection to the requested continuance.

21          The parties hereby stipulate and request the Schedule for Disclosure of Pre-Sentence Report and
22 for Filing of Objections to the Pre-Sentence report be modified as follows:

23

24
     Date of referral to Probation Officer:                                      05/03/2018
25
     Judgment and sentencing date:                                               09/06/2018
26
     Reply or statement of non-opposition:                                       08/30/2018
27
   Motion for correction of the Pre-Sentence Report shall be filed with
28 the court and served on the Probation Officer and opposing
   counsel no later than:                                                        08/23/2018

      STIPULATION REGARDING J&S                        1
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 1
   The Pre-Sentence Report shall be filed with the court and
 2 disclosed to counsel no later than:                                        08/16/2018
 3 Counsel’s written objections to the Pre-Sentence Report shall be
   delivered to the Probation Officer and opposing counsel no later than:     08/09/2018
 4
   The Proposed Pre-Sentence Report shall be disclosed
 5 to counsel no later than:                                                  07/26/2018
 6

 7

 8
           IT IS SO STIPULATED.
 9

10    Dated: June 18, 2018                                 /s/ Steven B. Plesser
                                                           Steven B. Plesser
11                                                         Attorney for Defendant
12                                                         Sergio Soriante Sanchez Reyna

13

14

15    Dated: June 18, 2018                                 MCGREGOR W. SCOTT
                                                           United States Attorney
16

17                                                         /s/ Amy Schuller Hitchcock
                                                           Amy Schuller Hitchcock
18                                                         Assistant United States Attorney

19

20
                                                   ORDER
21
           IT IS SO ORDERED.
22
     Dated: June 19, 2018
23

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      STIPULATION REGARDING J&S                        2
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